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                                  EXHIBIT 1

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                       MORTGAGE LOAN PURCHASE

                                      AND

                      INTERIM SERVICING AGREEMENT



                                     Between

                           GMAC MORTGAGE, LLC

                        (as Seller and as Interim Servicer)



                                       and


                         ___________________________
                                 (Purchaser)

                         Dated as of ____________, 2013


                        [FHA Residential Mortgage Loans]




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     MORTGAGE LOAN PURCHASE AND INTERIM SERVICING AGREEMENT

       THIS MORTGAGE LOAN PURCHASE AND INTERIM SERVICING
AGREEMENT (“Agreement”) dated as of ____________, 2013 is by and between
_______________, a ____________, as purchaser (“Purchaser”) and GMAC Mortgage, LLC, a
Delaware limited liability company, as seller (in such capacity, the “Seller”) and as interim
servicer (solely with respect to such rights and obligations, “Interim Servicer”).

                               PRELIMINARY STATEMENT

        WHEREAS, the Seller desires to sell to Purchaser, and Purchaser desires to purchase
from the Seller, subject to the terms and conditions of this Agreement, without recourse, certain
residential mortgage loans (a) some of which as of the Cut-Off Date (as hereinafter defined) will
be fewer than sixty (60) days past due with respect to the related mortgagor’s payment of
principal and interest (a “Performing Mortgage Loan”), and (b) some of which as of the Cut-Off
Date will be sixty (60) or more days past due with respect to the related mortgagor’s payment of
principal and interest under the terms of the related Mortgage Note or Mortgage (as such terms
are hereinafter defined) (a “Non-Performing Mortgage Loan”). The Performing Mortgage Loans
and the Non-Performing Mortgage Loans are referred to individually as a “Mortgage Loan” or
collectively as the “Mortgage Loans”;

        WHEREAS, the Mortgage Loans shall be sold to Purchaser on a servicing-released
basis; and

       WHEREAS, Purchaser desires that Interim Servicer service the Mortgage Loans on an
interim basis as described herein;

       NOW, THEREFORE, in consideration of the premises and the mutual agreements set
forth herein and other good and valuable consideration, Purchaser, Seller and Interim Servicer
agree as follows:

                                             ARTICLE 1.

                                            DEFINITIONS

       Whenever used herein, the following words and phrases, unless the context otherwise
requires, shall have the following meanings:

        Acceptable Servicing Procedures: The procedures, including collection and loan
administration procedures set forth in the FHA Guidelines (provided that, if the FHA Guidelines
are silent on a particular procedure, the Interim Servicer shall utilize the procedures, including
collection and loan administration procedures, for servicing mortgage loans using the same
standard of care that the Interim Servicer customarily employs and exercises in servicing and
administering similar mortgage loans for its own account, which shall be in material compliance
with applicable federal, state and local laws). As applied to Purchaser or its designated
Successor Servicer, such procedures and standard of care shall not be lower than the procedures
and standard of care that Purchaser or its designated Successor Servicer customarily employs

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and exercises in servicing and administering similar mortgage loans for its own account and shall
be in material compliance with all applicable federal, state and local laws and the FHA
Guidelines.

       Account: The account or accounts maintained by Interim Servicer (or its designee) in
connection with its servicing of the Mortgage Loans.

        Advances: All monetary advances made by Interim Servicer or the Seller’s designated
servicer in connection with or related to a Mortgage Loan, including but not limited to (i) any
amounts advanced by Interim Servicer or Seller’s designated servicer for the purpose of
effecting the payment of taxes, assessments and any insurance premiums relating to a Mortgaged
Property and (ii) all customary, reasonable and necessary “out-of-pocket” costs and expenses
incurred in the performance by Interim Servicer or Seller’s designated servicer of its servicing
obligations, including but not limited to, the cost (including reasonable attorneys’ fees and
disbursements), related to (a) the preservation, restoration and protection of the Mortgaged
Property, (b) any enforcement or judicial proceedings, including, but not limited to, foreclosures
and any expenses incurred in connection with any such proceedings that result from the
Mortgage Loan being registered on the MERS system and (c) the management and liquidation of
the Mortgaged Property if the Mortgaged Property is acquired in satisfaction of the Mortgage
(including default management and similar services, appraisal services and real estate broker
services). For the avoidance of doubt, any such cost or expense shall be deemed to include
services rendered regardless of whether the related invoice has been received and paid by the
Interim Servicer or Seller’s designated servicer.

        Agreement: This Mortgage Loan Purchase and Interim Servicing Agreement, including
all exhibits, attachments and schedules hereto, and all amendments hereof and supplements
hereto.

        ALTA: The American Land Title Association or any successor thereto.

       Assignment of Mortgage: An assignment of mortgage, notice of transfer or equivalent
instrument, in recordable form, sufficient under the laws of the jurisdiction wherein the related
Mortgaged Property is located to reflect of record the transfer of the Mortgage Loan to the
assignee named therein.

        Business Day: A day other than (i) a Saturday or Sunday, or (ii) a day on which banking
or savings and loan institutions in the States of California, Iowa, Minnesota or Texas or the
Commonwealth of Pennsylvania are authorized or obligated by law or executive order to be
closed.

        Claim: Any right to payment, whether or not such right is reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
equitable, secured or unsecured, known or unknown; or any right to an equitable remedy for
breach of performance if such breach gives rise to a right of payment, whether or not such right
to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured, disputed,
undisputed, secured or unsecured, known or unknown.



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        Closing Date: [_______], 2013.

        Collateral Exceptions Report: As defined in Section 2.2 herein.

       Collection Period: The period that begins on the first day of each calendar month and
ends on the last day of such month.

        Credit File: With respect to any Mortgage Loan, a file pertaining to such Mortgage Loan
that contains, to the extent available to the Seller, the documents described on Exhibit A
attached hereto, together with the credit documentation relating to the origination of such
Mortgage Loan and copies of the Mortgage Documents, which may be maintained on microfilm,
optical storage or any other comparable medium.

        Cut-Off Date: [______], 2013.

       Cut-Off Date Principal Balance: As to each Mortgage Loan, the unpaid principal balance
of such Mortgage Loan as of the close of business on the Cut-Off Date, after deduction and
application of all payments of principal received by the Cut-Off Date, as specified on the
Mortgage Loan Schedule.

      Debenture Rate: With respect to each Mortgage Loan, the rate set forth under the column
“Debenture Rate” for such Mortgage Loan on the Mortgage Loan Schedule.

        Due Date: With respect to any Mortgage Loan, the day of the month on which Monthly
Payments on such Mortgage Loan are due, exclusive of any days of grace, which day shall be the
first day of the month unless otherwise specified on the Mortgage Loan Schedule.

       Escrow Account: An account maintained by Interim Servicer or Seller’s designated
servicer for the deposit of Escrow Payments received in respect of one or more Mortgage Loans.

        Escrow Payments: The aggregate amount of the escrows for real estate taxes, insurance,
private mortgage insurance, and other payments required to be escrowed by the Mortgagor with
the mortgagee pursuant to any Mortgage Loan.

       Fannie Mae: The Federal National Mortgage Association, a federally chartered
corporation, or any successor thereto.

       FHA: The Federal Housing Administration, an administrative unit within the United
States Department of Housing and Urban Development.

        FHA Guidelines: Any statute, law or regulation currently in effect relating to mortgage
loans issued pursuant to Title 42 of the United States Code (the Fair Housing Act) as well as any
requirements under the FHA connect program.

      FHA Mortgage Loan: Each of the Mortgage Loans identified on the Mortgage Loan
Schedule as a FHA Mortgage Loan which has the benefit of a FHA Policy.




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      FHA Policy:      A certificate of insurance issued by the FHA for the benefit of the
mortgagee.

        HAMP: The Home Affordable Modification Program administered by Fannie Mae as a
program under the Making Home Affordable Program pursuant to section 101 and 109 of the
Emergency Economic Stabilization Act of 2008, as section 109 of such Act has been amended
by section 7002 of the American Recovery and Reinvestment Act of 2009.

     HAMP Loan: Each Mortgage Loan as to which a modification pursuant to HAMP has
commenced prior to the Cut-Off Date, as designated on the Mortgage Loan Schedule.

        HUD: The United States Department of Housing and Urban Development.

      Interim Servicer: GMAC Mortgage, LLC, in its capacity as Interim Servicer under this
Agreement and all successors in interest pursuant to Section 7.7 hereof.

        Interim Servicing Period: The period from the Closing Date to the Servicing Transfer
Date.

       Lien: Any lien, charge, pledge, deed of trust, right of first refusal, security interest,
conditional sale agreement or other title retention agreement, lease, mortgage, option, proxy,
hypothecation, voting trust agreement, transfer restriction, easement, servitude, encroachment, or
other encumbrance (including the filing of, or agreement to give, any financing statement under
the Uniform Commercial Code of any jurisdiction)

        Litigation Proceeding: As defined in Section 6.7 herein.

       MERS: Mortgage Electronic Registration Systems, Inc., a Delaware corporation, and
any successor thereto.

        MERS Loan: Any Mortgage Loan registered on the MERS® System and for which
MERS is listed as the record mortgagee or beneficiary on the related Mortgage or assignment
thereof.

       MERS® System:         The system of electronically recording transfers of mortgages
maintained by MERS.

        MIN: The mortgage identification number issued to each MERS Loan.

        MOM Loan: A Mortgage Loan that was registered on the MERS® System at the time of
origination thereof and for which MERS appears as the record mortgagee or beneficiary on the
related Mortgage.

       Monthly Payment: The scheduled monthly payment of principal and interest (or, in the
case of an interest-only Mortgage Loan, interest) on a Mortgage Loan that is payable by a
Mortgagor from time to time under the related Mortgage Note.




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        Mortgage: The mortgage, deed of trust, or other instrument creating a lien on real
property, in each case, including any riders, addenda, assumption agreements, or modification
relating thereto.

      Mortgage Documents: With respect to any Mortgage Loan, the mortgage loan
documents pertaining to such Mortgage Loan that are specified in Section 2.2.

       Mortgage File: With respect to any Mortgage Loan, a file pertaining to such Mortgage
Loan that contains each of the Mortgage Documents except as specified in any applicable
Collateral Exceptions Report.

        Mortgage Interest Rate: With respect to each Mortgage Loan, the annual rate at which
interest accrues on such Mortgage Loan.

      Mortgage Loan: An individual mortgage loan that is sold pursuant and subject to this
Agreement, each such Mortgage Loan being identified on the Mortgage Loan Schedule.

       Mortgage Loan Schedule: With respect to the Mortgage Loans to be sold pursuant to this
Agreement and set forth on Schedule I to this Agreement, such schedule shall set forth the
following information, as of the Cut-Off Date unless otherwise stated, with respect to each
Mortgage Loan to the extent such information is readily available to Seller: (a) the Mortgage
Loan identifying number; (b) the Mortgage Interest Rate; (c) the amount of the Monthly
Payment; (d) the Cut-Off Date Principal Balance of the Mortgage Loan; (e) the last Due Date on
which a Monthly Payment was actually applied to the Unpaid Principal Balance; (f) the original
principal amount of the Mortgage Loan; (g) a code indicating if the Mortgage Loan is a MERS
Loan and if so, the MIN; (h) the street address, city, state and zip code of the Mortgaged
Property; (i) unreimbursed amount of Advances, if applicable; (j) a code indicating if the
Mortgage Loan is in foreclosure, bankruptcy or litigation; (k) the lien position; (l) the Debenture
Rate; (m) the FHA case number; (n) whether such Mortgage Loan is a HAMP Loan and (o)
whether such Mortgage Loan has been modified.

      Mortgage Note: The note or other evidence of the indebtedness of a Mortgagor secured
by a Mortgage.

      Mortgaged Property: The property securing a Mortgage Note pursuant to the related
Mortgage.

        Mortgagor: The obligor(s) on a Mortgage Note.

        Non-Performing Mortgage Loan: As defined in the Preliminary Statement.

        Pending Proceeding: As defined in Section 6.6 herein.

        Performing Mortgage Loan: As defined in the Preliminary Statement.

         Permitted Liens: With respect to each Mortgage Loan, (i) the lien of current real
property taxes and assessments not yet due and payable and (ii) covenants, conditions, and
restrictions, rights-of-way, easements, mineral right reservations and other matters of public

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record as of the date of recording of such Mortgage, such exceptions generally being (a)
acceptable to mortgage lending institutions making mortgage loans of the quality of the
Mortgage Loan in the area where the Mortgage Property is located, (b) specifically referred to in
the mortgagee’s policy of title insurance or (c) other matters that do not materially interfere with
the benefits of the security intended to be provided by the Mortgage.

        Purchase Price: For each Mortgage Loan purchased hereunder, an amount equal to the
sum of (i) the product of the Purchase Price Percentage and the Cut-Off Date Principal Balance
of such Mortgage Loan and (ii) with respect to any Performing Mortgage Loans only, the
accrued and unpaid interest at the Mortgage Interest Rate for the period from the latest interest
paid to date to the day prior to the Closing Date and (iii) with respect to any Non-Performing
Mortgage Loans only, the accrued and unpaid interest at the Debenture Rate for the period from
the latest interest paid to date to the day prior to sixty (60) days prior to the Closing Date.

          Purchase Price Adjustment: As defined in Section 3.3(a) hereof.

      Purchase Price Percentage: For each Mortgage Loan, the percentage set forth in
Schedule II to this Agreement that is used to calculate the Purchase Price of such Mortgage
Loan.

          Purchaser: _______________, and all successors in interest pursuant to Section 7.7
hereof.

          Remittance Date: Ten (10) Business Days following the last day of each Collection
Period.

        Repurchase Price: With respect to any Mortgage Loan, an amount equal to (a) the
Purchase Price for such Mortgage Loan, plus (b) Purchaser’s reasonable and customary out-of-
pocket expenses incurred by Purchaser in transferring such Mortgage Loan back to Seller, minus
(c) any amounts received by Purchaser with respect to such Mortgage Loan on or prior to the
date of repurchase, minus (d) any unreimbursed Advances payable to Interim Servicer pursuant
to this Agreement.

        Sale Approval Order: An order of the Bankruptcy Court issued pursuant to sections 105
and 363 of the Bankruptcy Code, in substantially the form set forth in Exhibit B hereto,
authorizing and approving, among other things, (i) the sale, transfer and assignment of the
Mortgage Loans to Purchaser in accordance with the terms and conditions of this Agreement,
free and clear of all Claims and Liens and (ii) that Purchaser is a good faith purchaser entitled to
the protections of Section 363(m) of the Bankruptcy Code.

       Seller: GMAC Mortgage, LLC and its respective successors in interest pursuant to
Section 7.7 hereof.

          Servicer Participation Agreement: As defined in Section 3.4(f) herein.

       Servicing File: For each Mortgage Loan, the loan documents and information (including
any servicing tapes, images and conversion reports) received or obtained through the efforts of


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servicing the Mortgage Loan, which may be maintained on microfilm, optical storage or any
other comparable medium. To the extent available to the Seller, each Servicing File may
contain: (a) the tax service contract, (b) documentation relating to any releases of collateral, (c)
any correspondence between the Interim Servicer or the Seller’s designated servicer, as
applicable, and the Mortgagor, (d) payment history, (e) collection letters or form notices, (f)
foreclosure correspondence and legal notification, and (g) copy of deed with respect to any REO
property.

        Servicing Transfer Date: May 15, 2013, which is the date on which Interim Servicer
shall discontinue servicing the Mortgage Loans pursuant to Section 6.1.

       Successor Servicer: The servicer selected by Purchaser to assume all of Interim
Servicer’s responsibilities, rights, duties and obligations to service the Mortgage Loans on the
Servicing Transfer Date.

       Unpaid Principal Balance: With respect to each Mortgage Loan, as of any date of
determination, (i) the Cut-Off Date Principal Balance, minus (ii) the principal portion of all
payments made by or on behalf of the Mortgagor after the Cut-Off Date and received by Interim
Servicer or Successor Servicer, as applicable.

                                              ARTICLE 2.

                       SALE AND CONVEYANCE OF MORTGAGE LOANS;
                       POSSESSION OF FILES; PAYMENT OF PURCHASE
                        PRICE; DELIVERY OF MORTGAGE DOCUMENTS

        Section 2.1.      Sale and Conveyance of Mortgage Loans; Possession of Files

                   (a) On the Closing Date and upon the receipt of the Purchase Price set forth in
 this Agreement, the Seller shall sell, transfer, assign, set over, and convey to Purchaser, without
 recourse, but subject to the representations, warranties, terms and provisions of this Agreement
 all the right, title, and interest of the Seller in and to the Mortgage Loans, servicing released.

                (b) The documents comprising each Credit File shall, subject to payment for the
 related Mortgage Loan pursuant to Section 2.1(c) below, be held in trust by Interim Servicer
 until the Servicing Transfer Date, for the benefit of Purchaser as the owner thereof. Interim
 Servicer’s possession of such documents so held is at the will of Purchaser, and such holding
 and possession is in trust for Purchaser as the owner thereof and only for the purpose of
 servicing the Mortgage Loans until the Servicing Transfer Date. Upon payment for the related
 Mortgage Loan pursuant to Section 2.1(c) below, the legal and beneficial ownership of each
 Mortgage Note, each Mortgage, and each of the other documents comprising the Mortgage File
 and the Credit File with respect to such Mortgage Loan shall be vested in Purchaser, and the
 ownership of all records and documents with respect to such Mortgage Loan prepared by or
 which come into the possession of Seller or any agent or designee thereof shall immediately
 vest in Purchaser and shall be delivered to Purchaser in the case of the Mortgage Files on the
 Closing Date.


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                 (c) In full consideration for the sale of each of the Mortgage Loans pursuant to
 Section 2.1(a), and upon the terms and conditions of this Agreement, on the Closing Date
 Purchaser shall pay to Seller by wire transfer of immediately available funds (i) the Purchase
 Price as set forth in this Agreement for the Mortgage Loans purchased on the Closing Date and
 (ii) any unreimbursed Advances made by the Seller or Interim Servicer up to and including the
 Cut-Off Date as set forth in Section 6.2(a) of this Agreement. Purchaser shall also be required
 to reimburse Interim Servicer for any unreimbursed Advances made by the Interim Servicer as
 set forth in Sections 6.2(b) and 6.2(c) of this Agreement.

                (d) As of the Closing Date, Purchaser shall own and be entitled to receive with
 respect to each Mortgage Loan purchased on the Closing Date all Monthly Payments and all
 other collections of principal and interest and all proceeds on the Mortgage Loans received on
 and after the Cut-Off Date, subject to the rights of Interim Servicer under Section 6.2 to
 reimbursement for certain costs, expenses, Advances, any ancillary fees incurred or made
 pursuant thereto and interim servicing fees. All such amounts that are collected after the Cut-
 Off Date through and including the Servicing Transfer Date shall be held and remitted by
 Interim Servicer on each related Remittance Date.

                (e) Notwithstanding anything to the contrary in this Agreement, the Purchaser
 will be required to purchase all of the Mortgage Loans on the Mortgage Loan Schedule unless a
 Mortgage Loan was liquidated or otherwise paid-in-full between the date of this Agreement and
 the Closing Date.

        Section 2.2.         Delivery of Mortgage Documents and Credit Files

                 (a) Not later than two (2) Business Days prior to the Closing Date, the Seller
 shall deliver to Purchaser or Purchaser’s designee, to the extent in the Seller’s possession, the
 following documents for each Mortgage Loan (the “Mortgage Documents”):

                       (i)      Either:

                                   (A) the original Mortgage Note, endorsed (on the Mortgage
Note or an allonge attached thereto) “Pay to the order of __________ without recourse,” and
signed by original or facsimile signature in the name of the last holder of record by an authorized
officer; or

                                    (B) a copy of the Mortgage Note (endorsed as provided above)
together with a lost note affidavit.

                       (ii)    the original recorded Mortgage or copy with recording information
(and, in the case of a MOM Loan, with evidence of the MIN); provided that if such mortgage is
not available or if such public recording office retains or otherwise has not returned the original
recorded mortgage, the Seller may deliver or cause to be delivered to Purchaser a photocopy of
such Mortgage certified by such Seller to be a copy of the original mortgage sent for recording;




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                      (iii) unless such Mortgage Loan is a MERS Loan, the original
Assignment of Mortgage, from the applicable seller signed by an authorized officer, to
Purchaser’s designee, which assignment shall be in form and substance acceptable for recording;

                      (iv)    unless such Mortgage Loan is a MOM Loan, all intervening
Assignments of Mortgage with evidence of recordation provided that if such Assignment of
Mortgage is not available or if such public recording office retains or otherwise has not returned
the original Assignment of Mortgage, the Seller may deliver or cause to be delivered to
Purchaser a photocopy of such Assignment of Mortgage certified by such Seller to be a copy of
the original Assignment of Mortgage sent for recording;

                      (v)      originals or copies of all assumption, extension or modification
agreements, if any; and

                       (vi)  original or copy of the title policy or, in the event such title policy
is unavailable, an imaged copy of the related policy binder or commitment for title.

               (b) Set forth on Schedule III to this Agreement is the collateral exceptions
 report (the “Collateral Exceptions Report”) generated by Purchaser or Purchaser’s custodian,
 with respect to each Mortgage Loan sold by Seller hereunder, identifying which of the
 Mortgage Documents are not in its possession, to the extent applicable, or have document
 deficiencies. The Seller shall not have any obligation to deliver any documents included in a
 Collateral Exceptions Report or cure any document deficiencies identified in a Collateral
 Exceptions Report.

                 (c) In connection with the transfer of any MERS Loan pursuant to Section 2.1
 hereof, Interim Servicer shall request that the MERS® System indicate that such MERS Loan has
 been assigned to Purchaser. Purchaser may, at its cost and in its discretion, direct the Interim
 Servicer to deliver for recording to the appropriate public recording office of the jurisdiction in
 which the Mortgaged Property is located, and cause to be duly recorded, any of the original
 Assignments of Mortgage referred to in Section 2.2(a)(iii). Purchaser shall pay all recording fees
 relating to the recordation of the Assignments of Mortgage from Seller to Purchaser and any
 intervening assignments.

               (d) Unless otherwise provided herein, the Seller or its designee shall deliver the
 Credit Files with respect to all Mortgage Loans to Purchaser or its designee on or before the
 Servicing Transfer Date. The Seller or its designee shall deliver the Servicing Files with respect
 to all Mortgage Loans to Purchaser or its designee within five (5) Business Days of the
 Servicing Transfer Date.

        Section 2.3.        Purchaser’s Due Diligence Review

        Purchaser agrees and acknowledges that Purchaser or its custodian has conducted a due
diligence review on (i) the Mortgage Loans and (ii) a sample of twenty percent (20%) of the
related Credit Files, and that any document defects in the Mortgage Files and the Credit Files



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have been resolved to its satisfaction and taken into account in determining the Purchase Price
Percentage specified in this Agreement.

                                               ARTICLE 3.

                      REPRESENTATIONS AND WARRANTIES OF
                    THE SELLER CONCERNING MORTGAGE LOANS;
               REPURCHASE OF MORTGAGE LOANS; REPRESENTATIONS AND
                           WARRANTIES OF PURCHASER

        Section 3.1.       Individual Mortgage Loans

       The Seller hereby represents and warrants to Purchaser that, as to each Mortgage Loan
sold by the Seller hereunder, as of the Closing Date (except as otherwise indicated below):

                  (a) The information with respect to such Mortgage Loan set forth on the
 Mortgage Loan Schedule is true and correct in all material respects, as of the dates specified
 therein or, if no such date is indicated therein, as of the Cut-Off Date.

                 (b) Upon both (a) the entry of the Sale Approval Order and (b) the transfer of the
 Mortgage Loans to the Purchaser, the Purchaser will have good and valid title to the Mortgage
 Loans, free and clear of any liens, claims, encumbrances, participation interests, equities,
 pledges, charges, or security interests of any nature, and the Seller had full right and authority to
 sell and assign such Mortgage Loan pursuant to this Agreement.

                 (c) With respect to each Mortgage Loan, the Mortgage is a valid, subsisting and
 enforceable first-lien, as indicated on the Mortgage Loan Schedule, on the Mortgaged Property.
  The lien of the Mortgage is subject only to Permitted Liens.

                 (d) Other than as indicated in the Mortgage Loan Schedule, the terms of the
 Mortgage and the Mortgage Note have not been waived, altered, or modified in any material
 respect, except by a written instrument that has been recorded, if necessary, and that is a part of
 the Mortgage File; provided, however, that under certain circumstances where the modification,
 waiver or alteration of the terms of such Mortgage or Mortgage Note has been effected pursuant
 to a written instrument that is favorable to the Mortgagor, such written instrument may or may
 not have been executed by the related Mortgagor.

               (e) No Mortgagor has been released, in whole or in part, except as indicated in
 the Mortgage Loan Schedule.

                 (f) With respect to each Mortgage Loan, the applicable FHA Policy is in full
 force and effect, and there exists no defense or impairment to full recovery thereunder to the
 maximum extent provided thereby, without, in the case of any FHA Mortgage Loan, indemnity
 to HUD or FHA. Each FHA Policy is the valid, binding and enforceable obligation of FHA, to
 the full extent provided thereby, without surcharge, set-off or defense, and all actions that are
 necessary to ensure that each FHA Policy remains so valid, binding and enforceable have been
 taken. As of the Cut-Off Date, the guaranty amount with respect to each FHA Mortgage Loan

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 will be an amount that is payable in accordance with the FHA Guidelines and such amount will
 be at least equal to the unpaid principal balance of the related Mortgage Loan. All provisions of
 such FHA Policy have been and are being complied with and all premiums due thereunder have
 been paid. The Mortgage Loan obligates the Mortgagor thereunder to maintain the FHA Policy
 and to pay all premiums and charges in connection therewith.

                (g) All improvements upon the Mortgaged Property are insured against loss by
 fire and such other hazards as are customary in the area where the Mortgaged Property is
 located, pursuant to insurance policies maintained by the Mortgagor or a blanket insurance
 policy maintained by Seller or Interim Servicer. All such insurance premiums that previously
 became due and owing prior to or on the Cut-Off Date in respect thereof have been paid. If the
 Mortgaged Property is in an area that, at the time of origination of the related Mortgage Loan,
 was identified on a flood hazard boundary map or flood insurance rate map issued by the
 Federal Emergency Management Agency as having special flood hazards and such flood
 insurance is available, a flood insurance policy was obtained meeting the requirements of the
 guidelines of the Federal Insurance Administration with an insurance carrier acceptable to
 Seller.

                (h) The Mortgage Note and the Mortgage are genuine, and each is the legal,
 valid and binding obligation of the maker thereof enforceable in accordance with its terms in all
 material respects, except as such enforcement may be limited by bankruptcy, insolvency,
 reorganization, moratorium, or other similar laws affecting the enforcement of creditors’ rights
 generally and except that the equitable remedy of specific performance and other equitable
 remedies are subject to the discretion of the courts. To Seller’s knowledge, all parties to the
 Mortgage Note and the Mortgage had legal capacity to execute the Mortgage Note and the
 Mortgage and convey the estate therein purported to be conveyed, and the Mortgage Note and
 the Mortgage have been duly and properly executed by such parties or pursuant to a valid
 power-of-attorney that has been recorded with the Mortgage.

                 (i) The Mortgage has been duly assigned and the Mortgage Note has been duly
 endorsed as provided in Section 2.2(a). Any Assignment of Mortgage delivered to Purchaser
 pursuant to Section 2.2 above is in recordable form except for the insertion of the name of the
 assignee and recording information and is acceptable for recording under the laws of the
 applicable jurisdiction.

                (j) Each Mortgage Loan as of the time of its origination complied in all material
 respects with all applicable local, state and federal laws, rules and regulations including, but not
 limited to, usury, consumer credit protection, equal credit opportunity, or disclosure laws
 applicable to such Mortgage Loan at the time of origination.

                (k) Each Mortgage is covered by either an ALTA mortgage title insurance policy
 acceptable to Seller, or such other generally used and acceptable form of policy and applicable
 endorsements acceptable to prudent mortgage lending institutions making loans in the area
 where the Mortgaged Property is located.

               (l) The Mortgage Loan is not subject to any right of rescission, setoff,
 counterclaim or defense, and no such claim has been asserted with respect to any Mortgage

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 Loan, except as such rights, counterclaims, defenses and claims may be asserted in connection
 with the litigation and bankruptcy proceedings disclosed under the column [______] on the
 Mortgage Loan Schedule.

                (m) The Mortgage contains customary and enforceable provisions that render the
 rights and remedies of the holder thereof adequate for the realization against the Mortgaged
 Property of the benefits of the security, including (i) in the case of a Mortgage designated as a
 deed of trust, by trustee’s sale and (ii) otherwise by judicial foreclosure. The Mortgage or
 Mortgage Note contains a provision that is, to the extent not prohibited by federal or state law,
 enforceable and that provides for the acceleration of the payment of the Unpaid Principal
 Balance of the Mortgage Loan in the event that the Mortgaged Property is sold or transferred
 without the prior written consent of the mortgagee thereunder.

               (n) If the Mortgage constitutes a deed of trust, a trustee, duly qualified under
 applicable law to serve as such, has been properly designated and currently so serves and is
 named in such Mortgage, and no fees or expenses are or shall become payable to the trustee
 under the deed of trust except in connection with a trustee’s sale after default by the Mortgagor.

                (o) Each Mortgage Loan has been serviced by Interim Servicer (or Seller’s
 sub-servicer) in all material respects in accordance with Acceptable Servicing Procedures.

               (p) To Seller’s knowledge, the Mortgaged Property is in material compliance
 with applicable environmental laws pertaining to environmental hazards and Seller has not
 received any notice of any violation of such law.

                (q) There is no litigation or bankruptcy proceeding pending or, to Seller’s
 knowledge, threatened with respect to a Mortgage Loan that will adversely affect Purchaser’s
 right, title or interest thereon or the priority of the Mortgage other than litigation and
 bankruptcy proceedings and their related claims as disclosed under the column [______] on the
 Mortgage Loan Schedule.

        Section 3.2.       Seller and Interim Servicer Representations

       The Seller and the Interim Servicer, severally and not jointly, hereby represents and warrants
to Purchaser that, with respect to itself only, and subject to Bankruptcy Court approval of this
Agreement as set forth in Section 5.4 hereof, on the Closing Date:

                (a) Seller is a Delaware limited liability company, duly organized, validly
 existing and in good standing under the laws of the State of Delaware.

               (b) Seller has the power and authority to hold each Mortgage Loan, to sell each
 Mortgage Loan, to enter into, execute and deliver this Agreement and all documents and
 instruments executed and delivered pursuant hereto and to perform its obligations in accordance
 therewith. The execution, delivery and performance of this Agreement by Seller and the
 consummation of the transactions contemplated hereby have been duly and validly authorized.
 This Agreement and all other documents and instruments contemplated hereby, in each case
 assuming due authorization, execution and delivery by Purchaser, if applicable, evidence the

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 valid, binding and enforceable obligations of Seller, subject as to enforcement, (i) to
 bankruptcy, insolvency, receivership, conservatorship, reorganization, arrangement,
 moratorium, and other laws of general applicability relating to or affecting creditor’s rights and
 (ii) to general principles of equity, whether such enforcement is sought in a proceeding in equity
 or at law. All requisite limited liability company action has been taken by Seller to make this
 Agreement and all documents and instruments executed and delivered pursuant hereto, valid
 and binding upon Seller in accordance with its terms.

                 (c) No consent, approval, authorization, or order of any court or governmental
 agency or body relating to the transactions contemplated by this Agreement and the transfer of
 title to the Mortgage Loans to Purchaser, is required as to Seller or, if required, such consent,
 approval, authorization, or order has been or shall, prior to the Closing Date, be obtained,
 except for any recordation of Assignments of the Mortgages to or for the benefit of Purchaser
 pursuant to this Agreement.

                 (d) The consummation of the transactions contemplated by this Agreement,
 including without limitation the transfer and assignment of the Mortgage Loans to or for the
 benefit of Purchaser pursuant to this Agreement and the fulfillment of or compliance with the
 terms and conditions of this Agreement, are in the ordinary course of business of Seller and
 shall not (i) result in the breach of any term or provision of the certificate of formation or
 limited liability company agreement of Seller, (ii) result in the breach of any term or provision
 of, or conflict with or constitute a default under, or result in the acceleration of any obligation
 under, any material agreement, indenture, loan or credit agreement or other instrument to which
 Seller or its property is subject, or (iii) result in the violation of any law, rule, regulation, order,
 judgment, or decree to which Seller or its property is subject.

                 (e) There is no action, suit, proceeding or investigation pending or, to the best of
 Seller’s knowledge, threatened against Seller that is likely (in Seller’s judgment) to materially
 and adversely affect the sale of the Mortgage Loans, or that would be likely to materially impair
 the ability of Seller to perform its obligations under the terms of this Agreement.

        Section 3.3.        Remedies for Breach of Representations and Warranties

                 (a) Upon discovery by Purchaser prior to the date which is one year following
 the Closing Date of a breach of any of the representations and warranties set forth in Sections
 3.1 or 3.2 made by the Seller (either as Seller or Interim Servicer) that materially and adversely
 affects the value of any Mortgage Loan, Purchaser shall give written notice to the Seller within
 ten (10) Business Days of such discovery. The Seller shall cure in all material respects any
 such breach within 90 days of receipt of such notice of said breach, and, if such breach cannot
 be or is not cured within such 90-day period, the Seller shall, in its sole discretion, either
 (i) repurchase the affected Mortgage Loan(s) at the Repurchase Price or (ii) reimburse
 Purchaser an amount (the “Purchase Price Adjustment”) equal to the reduction in value (as
 reasonably determined by the Purchaser and Seller) of the affected Mortgage Loans based upon
 the breach; provided that if the Seller and Purchaser are unable to agree upon the Purchase Price
 Adjustment, the Seller shall repurchase such Mortgage Loan. Any such repurchase shall be at a
 price equal to the applicable Repurchase Price and shall be accomplished by prompt payment to


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 Purchaser of the amount of the Repurchase Price. Notwithstanding anything to the contrary in
 this Agreement, the Seller is under no obligation to repurchase any Mortgage Loan or pay any
 Purchase Price Adjustment if Purchaser or its designee has renewed, renegotiated, modified,
 compromised, settled or released the Mortgage Loan, Mortgaged Property, or Mortgagor in
 whole or in part in any material respect or impaired such Mortgage Loan or the related FHA
 Policy in any material respect.

                (b) It is understood and agreed that all representation, warranties and covenants
 made by the Seller (either as Seller or Interim Servicer) as set forth in this Agreement shall
 survive for a period of one year following the Closing Date and shall inure to the benefit of
 Purchaser.

                 (c) Upon receipt of the Repurchase Price, Purchaser shall immediately take all
 steps necessary to effect the transfer of any repurchased Mortgage Loan, including all
 documentation with respect thereto, to the Seller. In connection with any repurchase by the
 Seller of a Mortgage Loan pursuant to this Section 3.3 of this Agreement, Purchaser shall be
 deemed to have represented and warranted that (i) such Mortgage Loan has been serviced in
 accordance with Acceptable Servicing Procedures from the Servicing Transfer Date to the date
 of repurchase and (ii) if such Mortgage Loan is also a HAMP Loan, that such HAMP Loan has
 been serviced in accordance with HAMP. In the event Purchaser breaches the representation or
 warranty deemed to have been made by it in this clause (c), depending on the severity of such
 breach, the Seller may not be obligated to repurchase the affected Mortgage Loan, and in
 addition, Purchaser shall be responsible for indemnifying the Seller pursuant to the terms of this
 Agreement. If, in accordance with this Section 3.3, the Seller repurchases any MERS Loan,
 Purchaser shall promptly (i) cause the MERS® System to reflect such repurchase, as the case
 may be, or (ii) cause MERS to remove the repurchased Mortgage Loan from registration on the
 MERS® System and execute and deliver an Assignment of Mortgage to reflect the transfer of
 such Mortgage Loan to the Seller or its designee.

                (d) It is understood and agreed that the obligations of the Seller set forth in this
 Section 3.3 constitute the sole remedies available to Purchaser respecting a breach of the
 representations and warranties by the Seller set forth in Sections 3.1 and 3.2. In no event shall
 the Seller be liable for any additional damages, including without limitation, consequential,
 punitive, or exemplary damages, with respect to any breach.

                 (e) Any cause of action against the Seller relating to or arising out of the breach
 of any representation and warranty made by the Seller in Sections 3.1 and 3.2 shall accrue as to
 any Mortgage Loan only upon (i) discovery of such breach by Purchaser, (ii) failure by the
 Seller to cure such breach or repurchase or pay any Purchase Price Adjustment with respect to
 such Mortgage Loan as specified above, (iii) demand upon the Seller by Purchaser for all
 amounts payable in respect of such Mortgage Loan and (iv) certification by the Purchaser that
 the breach alleged by Purchaser was not discovered by it or its representatives during the due
 diligence review performed by it or its representatives.




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        Section 3.4.       Purchaser Representations

        Purchaser hereby represents and warrants, as of the Closing Date, that:

                (a) Purchaser is a __________ duly [incorporated/organized], validly existing,
 and in good standing under the laws of the state in which it is [incorporated/organized].

                 (b) Purchaser has the [corporate] power and authority to purchase each Mortgage
 Loan, to enter into, execute and deliver this Agreement and all documents and instruments
 executed and delivered pursuant hereto and to perform its obligations in accordance therewith.
 The execution, delivery and performance of this Agreement by Purchaser and the
 consummation of the transactions contemplated hereby, including without limitation,
 repurchase obligations, have been duly and validly authorized. This Agreement and all other
 documents and instruments contemplated hereby, in each case assuming due authorization,
 execution and delivery by Seller, evidence the valid, binding and enforceable obligations of
 Purchaser, subject as to enforcement, (i) to bankruptcy, insolvency, receivership,
 conservatorship, reorganization, arrangement, moratorium, and other laws of general
 applicability relating to or affecting creditor’s rights and (ii) to general principles of equity,
 whether such enforcement is sought in a proceeding in equity or at law. All requisite
 [corporate] action has been taken by Purchaser to make this Agreement valid and binding upon
 Purchaser in accordance with its terms.

                (c) No consent, approval, authorization or order of any court or governmental
 agency or body relating to the transactions contemplated by this Agreement is required as to
 Purchaser, or, if required, such consent, approval, authorization or order has been or will, prior
 to the Closing Date, be obtained.

                (d) The consummation of the transactions contemplated by this Agreement and
 the fulfillment of or compliance with the terms and conditions of this Agreement, are in the
 ordinary course of business of Purchaser, will not (i) result in the breach of any term or
 provision of the [certificate of incorporation or bylaws/certificate of formation or partnership
 agreement] of Purchaser, (ii) result in the breach of any term or provision of, or conflict with or
 constitute a default under, or result in the acceleration of any obligation under, any material
 agreement, indenture, loan or credit agreement or other instrument to which Purchaser or its
 property is subject, or (iii) result in the violation of any law, rule, regulation, order, judgment, or
 decree to which Purchaser or its property is subject.

               (e) There is no action, suit, proceeding or investigation pending or, to the best of
 Purchaser’s knowledge, threatened against Purchaser that is likely (in Purchaser’s judgment) to
 materially and adversely affect the consummation of the transactions contemplated hereby, or
 that would be likely to materially impair the ability of Purchaser to perform its obligations
 under the terms of this Agreement.

                (f) Purchaser has entered into a servicer participation agreement (the “Servicer
 Participation Agreement”) with Fannie Mae that will enable the Purchaser to service the
 Mortgage Loans in accordance with the FHA Guidelines and HAMP, as applicable, and such
 Servicer Participation Agreement is in full force and effect.


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                  (g) The Purchaser is a HUD-approved mortgagee.

                (h) The Purchaser (or its Successor Servicer) holds all licenses, approvals,
 permits, and other authorizations, or exemptions therefrom, required under FHA Guidelines to
 own and service the Mortgage Loans and is approved to service 1-4 family and multifamily
 mortgage loans under the FHA Title II of Lenders Profile.

                 (i) The Purchaser is a sophisticated investor and the Purchaser’s offer and
 decision to purchase the Mortgage Loans is based upon its own independent expert evaluations
 of its due diligence and other materials deemed relevant by the Purchaser and its agents together
 with such records as are generally available to the public from local, county, state and federal
 authorities, record-keeping offices and courts (including, without limitation, any bankruptcy
 courts in which any mortgagors, guarantor or surety, if any, may be subject to any pending
 bankruptcy proceedings), as Purchaser deemed necessary, proper or appropriate in order to
 make a complete informed decision with respect to the purchase and acquisition of the
 Mortgage Loans. Purchaser acknowledges that it has had the opportunity to conduct legal,
 environmental, on-site and other appropriate due diligence as to each Mortgage Loan. The
 Purchaser has not relied in entering into this Agreement upon any oral or written information
 from the Seller, or any of its employees, affiliates, agents, legal counsel or other representatives.
  Purchaser is aware of the level of and form of documentation with respect to each Mortgage
 Loan and takes each Mortgage Loan and the Mortgage File, respectively, with the knowledge
 that such documentation may be incomplete.

                  (j) Purchaser acknowledges that the Mortgage Loans (including the loan
 documents) may have limited or no liquidity and Purchaser has the financial wherewithal to
 own the Mortgage Loans and the loan documents for an indefinite period of time and to bear the
 economic risk of an outright purchase of the Mortgage Loans and the loan documents and a
 total loss of the Purchase Price for the Mortgage Loans.

                                                ARTICLE 4.

                                               COVENANTS

        Section 4.1.       Continued Cooperation

         The Seller, Interim Servicer and Purchaser shall cooperate fully with each other and their
respective counsel and other representatives and advisors in connection with the steps required to be
taken as part of their respective obligations under this Agreement. At any time, and from time to
time after the Closing Date, upon the reasonable request of either party hereto, and at the expense of
the requesting party, the non-requesting party shall do, execute, acknowledge and deliver, and shall
cause to be done, executed, acknowledged and delivered, all such further acts, deeds, assignments,
transfers, conveyances, and assurances as may be reasonably required in order to accomplish any
provision herein; provided that neither the Seller nor the Interim Servicer will be obligated to
execute any agreement or provide any consent, disclosures, reports or any other information in
connection with any assignment, transfer or reconstitution of the Mortgage Loans by the Purchaser
as set forth in Section 7.7 hereto. In addition, in the event the Seller or Interim Servicer determines


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subsequent to the Closing Date that it needs reasonable access to any documents relating to any
Mortgage Loan for accounting, tax or litigation purposes, Purchaser shall, upon reasonable notice by
the Seller or Interim Servicer, as the case may be, at said party’s reasonable expense promptly
provide, or cause to be provided, copies of such documents to the extent reasonably necessary to
satisfy such purposes, subject to appropriate confidentiality requirements. Notwithstanding the
foregoing, the Seller and Interim Servicer shall not be required to take any action that it reasonably
concludes would violate the United States Bankruptcy Code or any order entered in its bankruptcy
case, and neither the Seller nor the Interim Servicer shall be required to take any action to the extent
that it no longer has staff that perform such action.

        Section 4.2.       Delivery of Documents

        On the dates specified herein, each party shall deliver to the appropriate persons specified
herein all documents and instruments provided for hereunder.

        Section 4.3.       Reserved.

        Section 4.4.       Compliance with HAMP; Existing Modifications

        With respect to each HAMP Loan and each Mortgage Loan that becomes subject to a
HAMP modification agreement after the Cut-Off Date, Purchaser shall, or shall cause its servicer to,
comply with the terms of each modification agreement applicable to such Mortgage Loan and all
guidelines, procedures and directives issued by the United States Treasury, Fannie Mae or Freddie
Mac applicable to the servicing of such Mortgage Loan. With respect to any Mortgage Loan that is
the subject of an application for modification or is in its trial period pursuant to the terms of the
related modification, and is not a HAMP Loan, the Purchaser shall, or shall cause its servicer to,
accept and continue processing the pending loan modification requests and shall honor trial and
permanent loan modifications entered into by the prior servicer. The parties hereto acknowledge
and agree that any such Mortgagor shall be deemed a third party beneficiary of this Section 4.4.

        Section 4.5.       Regulatory Compliance

        From and after the Closing Date, the Purchaser agrees to use its commercially reasonable
efforts to cooperate with and assist the Seller and its counsel and other advisors with respect to
the Seller’s compliance with any of its regulatory obligations.

                                                ARTICLE 5.

                                        CLOSING CONDITIONS

        The closing for the purchase and sale of the Mortgage Loans identified on the Mortgage
Loan Schedule shall take place on the Closing Date. The obligation of the Seller to sell each
Mortgage Loan and the obligation of Purchaser to purchase each Mortgage Loan shall be subject
to the conditions set forth in this Article 5.



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        Section 5.1.       Closing Date Documents

        On the Closing Date, if the Mortgage Files are in the possession of a custodian, Purchaser
shall have a received a trust receipt or similar document from such custodian acknowledging that
such custodian holds the Mortgage Files for the benefit of Purchaser. Such custodian shall
provide a copy of such trust receipt or similar document to Seller.

        Section 5.2.       Correctness of Representations and Warranties

        All of the representations and warranties of the Seller and Purchaser under this Agreement
shall be true and correct in all material respects as of the Closing Date (except as otherwise expressly
provided for herein).

        Section 5.3.       HAMP Assignment and Assumption Agreement

       Seller and Purchaser shall have entered into an Assignment and Assumption Agreement in
the form of Exhibit C to the Amended and Restated Servicer Participation Agreement dated as of
September 30, 2010 between Seller and Fannie Mae with respect to the HAMP Loans and any
Mortgage Loans that become subject to a HAMP modification agreement after the Cut-Off Date.

        Section 5.4.       Bankruptcy Court Approval

        The United States Bankruptcy Court for the Southern District of New York shall have
entered an order in the bankruptcy case of the Seller and Interim Servicer approving this
Agreement substantially in the form of the Sale Approval Order and such Sale Approval Order
shall not be subject to any stay of effectiveness.

        Section 5.5.       Compliance With Conditions

       All other terms and conditions of this Agreement shall have been complied with in all
material respects.

        Subject to the foregoing conditions, Purchaser shall pay to the Seller on the Closing Date (i)
the Purchase Price for the Mortgage Loans and (i) any unreimbursed Advances made by the Seller
or Interim Servicer up to the Cut-Off Date as set forth in Section 6.2(a) of this Agreement by wire
transfer of immediately available funds to the account designated by the Seller.

                                                ARTICLE 6.

                                          INTERIM SERVICING

        Section 6.1.       General

        The Mortgage Loans will be purchased by Purchaser and sold by Seller on a
servicing-released basis. As of the Servicing Transfer Date, all servicing responsibilities with
respect to the Mortgage Loans shall pass to Purchaser and its designated Successor Servicer, if

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any, and Interim Servicer shall cease all servicing responsibilities with respect to the Mortgage
Loans and shall be discharged from all liability therefor with respect to any servicing following
such Servicing Transfer Date. Without limiting its other obligations herein, neither Seller nor
Interim Servicer shall have any obligation to perform any servicing activities with respect to the
Mortgage Loans from and after the Servicing Transfer Date.

        Purchaser shall pay a servicing fee to the Interim Servicer of $12.50 per month or portion
thereof from the Cut-Off Date until the Servicing Transfer Date for each Mortgage Loan subject
to this Agreement that is 29 days or less delinquent as of the Cut-Off Date. Purchaser shall pay a
servicing fee to the Interim Servicer of $40.00 per month or portion thereof from the Cut-Off
Date until the Servicing Transfer Date for each Mortgage Loan subject to this Agreement that is
30 to 59 days delinquent as of the Cut-Off Date. Purchaser shall pay a servicing fee to the
Interim Servicer of $65.00 per month or portion thereof from the Cut-Off Date until the
Servicing Transfer Date for each Mortgage Loan subject to this Agreement that is 60 to 89 days
delinquent as of the Cut-Off Date. Purchaser shall pay a servicing fee to the Interim Servicer of
$90.00 per month or portion thereof from the Cut-Off Date until the Servicing Transfer Date for
each Mortgage Loan subject to this Agreement that is 90 or more days delinquent as of the Cut-
Off Date.

        Section 6.2.      Advances; Reimbursement of Advances

       On the Servicing Transfer Date, Purchaser shall pay or cause its designated Successor
Servicer to pay Interim Servicer the following amounts:

               (a) with respect to the Mortgage Loans, all unreimbursed Advances incurred by
 Interim Servicer on or prior to the Cut-Off Date (to the extent not already paid to Seller as of
 the Closing Date); and

                (b) with respect to the Mortgage Loans, all Advances incurred by Seller between
 the Cut-Off Date and Closing Date (to the extent not already paid to Seller as of the Closing
 Date) and all Advances incurred by Interim Servicer during the Interim Servicing Period; and

                (c) any other reasonable and customary expenses incurred by the Interim
 Servicer in connection with the Mortgage Loans during the Interim Servicing Period and not
 previously reimbursed;

provided, however, that to the extent Interim Servicer is billed for any expenses in connection
with the performance of its servicing obligations after the Servicing Transfer Date, the Interim
Servicer shall forward such invoices to Purchaser as soon as practicable after receipt and
Purchaser shall be responsible for processing and paying all such invoices. In the event,
however, any such invoice is processed and paid by Interim Servicer following the Servicing
Transfer Date, Purchaser shall reimburse Interim Servicer for the same within ten (10) Business
Days of request.

       Interim Servicer may set-off all Advances and expenses owed to it pursuant to this
Agreement as of the Servicing Transfer Date against any funds due to Purchaser on the Servicing
Transfer Date; provided that Interim Servicer shall deliver an electronic report or reports relating

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to such Advances and expenses to Purchaser. A form of such electronic report is attached hereto
as Exhibit C.

       Notwithstanding the foregoing, nothing in this Agreement or related transfer instructions
shall be construed to require Interim Servicer to make any Advances (other than Advances
required to be made in accordance with Acceptable Servicing Procedures). Interim Servicer shall
be entitled to additional servicing compensation in the form of interest realized from any
investment of funds in an Account, non-sufficient funds check fees, assumption fees, conversion
fees, other related administrative fees, late payment charges, prepayment charges and fees,
HAMP modification fees and other similar types of ancillary fees and charges that are actually
received by Interim Servicer. All such amounts may be retained by Interim Servicer.

        Section 6.3.       Insured Mortgaged Properties

        Purchaser is responsible for having itself substituted, as of the Servicing Transfer Date,
as loss payee on, and obtaining any additional or substitute coverage for any risk insurance on
any Mortgaged Property in which the Seller is currently listed as a loss payee. Nothing in this
Agreement shall prevent Purchaser from obtaining, at its own expense, such risk insurance as
Purchaser deems necessary or appropriate to insure its interest hereunder or in any Mortgaged
Property.

        Section 6.4.       Transfer of Servicing

        During the Interim Servicing Period, Interim Servicer shall service the Mortgage Loans
in accordance with Acceptable Servicing Procedures and the terms of this Agreement. On and
after the Closing Date, Purchaser shall have the sole responsibility for the direction and strategy
of any enforcement actions, at Purchaser’s expense.

        Section 6.5.       [Reserved]

        Section 6.6.       Pending Legal Proceedings

              Certain of the Mortgage Loans may be the subject of foreclosure or bankruptcy
proceedings (and related claims), the outcome of which may affect the status of the Mortgage
Loan, including the collectability thereof (“Pending Proceedings”). The provisions below apply
to Pending Proceedings:

                 (a) Purchaser shall, at its cost, within thirty (30) days after the Closing Date, (i)
 notify the appropriate court officer and all counsel of record with respect to each Mortgage
 Loan that is in foreclosure or bankruptcy, of the transfer of the Mortgage Loan from the Seller
 to Purchaser, (ii) file pleadings to substitute counsel (unless said counsel has agreed to represent
 Purchaser in the proceedings at Purchaser’s expense), and (iii) where possible, remove the
 Seller as a party in the proceedings and substitute Purchaser as the real party in interest, and
 change the caption thereof accordingly. Notwithstanding the preceding sentence, Purchaser
 may continue any proceeding in the Seller’s name with respect to any Mortgage Loan if


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 necessary to prevent a material adverse effect on Purchaser’s interest with respect thereto or a
 delay in the proceeding, it being understood that Purchaser shall indemnify and hold harmless
 the Seller from all costs and fees arising after the Closing Date and relating to any such
 proceeding and shall further indemnify and hold harmless the Seller for any loss, damages,
 penalties, fines, forfeitures, legal fees and related costs, judgments, and other costs and
 expenses resulting from any claim, investigation, inquiry, demand, defense or assertion relating
 to, based upon or otherwise pertaining to the proceeding continuing in the name of the Seller
 after the Closing Date. If Purchaser fails to use commercially reasonable efforts to comply with
 the above requirements, the Seller may, upon prior written notice to Purchaser, complete any of
 the actions specified in clauses (i), (ii) and (iii) above on Purchaser’s behalf. In such event,
 Purchaser hereby appoints the Seller as its attorney-in-fact to complete any of the actions
 specified in clauses (i), (ii) and (iii) above. Purchaser acknowledges that its failure to comply
 with the provisions of this paragraph may affect Purchaser’s rights in any such proceeding
 including, without limitation, a dismissal with prejudice or the running of any statute of
 limitations if any such proceeding is dismissed.

                 (b) On and after the Closing Date, Purchaser shall have the sole responsibility
 for the direction and strategy of the related Pending Proceedings, at Purchaser’s expense.

                (c) Reimbursement for the Seller’s expenses shall be made in accordance with
 the following procedure:

                         (i) Purchaser shall reimburse and indemnify the Seller for any expenses,
                  including reasonable legal fees, incurred by the Seller in connection with
                  Pending Proceedings from and after the Cut-Off Date for services rendered after
                  the Cut-Off Date, including without limitation, any such expenses incurred by
                  the Seller in connection with Purchaser’s failure to comply with the requirements
                  of subparagraph (c)(i)-(iii). Purchaser shall reimburse such expenses no later
                  than five (5) days after receipt of a request from the Seller for reimbursement;

                         (ii) Within ninety (90) days after the Servicing Transfer Date, the Seller
                  shall deliver an electronic report to Purchaser of any expenses billed to the Seller
                  incurred in connection with Pending Proceedings from and after the Cut-Off
                  Date for services rendered after the Cut-Off Date, whereupon Purchaser shall
                  reimburse the Seller for amounts so incurred; and

                         (iii) The Seller shall be responsible for any expenses, including legal fees,
                  incurred by the Seller in connection with Pending Proceedings prior to the Cut-
                  Off Date.

        Section 6.7.        Mortgage Loans in Litigation

               If any Mortgage Loan becomes subject to litigation (“Litigation Proceedings”)
commenced by a Mortgagor or other third party or commenced by Interim Servicer at the
direction of Purchaser following the Closing Date (but before the Servicing Transfer Date), the
provisions below apply to such Litigation Proceedings:


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                 (a) Purchaser shall, at its cost, within thirty (30) days after the Servicing
 Transfer Date, (i) notify the appropriate court officer and all counsel of record in each Litigation
 Proceeding of the transfer of the Mortgage Loan from the Seller to Purchaser, (ii) file pleadings
 to substitute counsel (unless said counsel has agreed to represent Purchaser in the proceedings
 at Purchaser’s expense), and (iii) where possible, remove the Seller as a party in Litigation
 Proceedings and substitute Purchaser as the real party in interest, and change the caption thereof
 accordingly. Notwithstanding the preceding sentence, Purchaser shall not be under an
 obligation to take the actions set forth in this subsection (c)(i), (ii) or (iii) if the allegations
 raised in the Litigation Proceedings pertain or otherwise relate to the Seller and/or Interim
 Servicer’s breach of any of the representations and warranties set forth in this Agreement;
 provided, that such breach of any representations and warranties was not due to the Seller
 and/or Interim Servicer taking action or refraining from taking action at the express written
 direction or consent of Purchaser during the Interim Servicing Period (“Seller Litigation
 Proceeding”). Purchaser may continue any Litigation Proceeding (other than any Seller
 Litigation Proceeding) in the Seller’s name with respect to any Mortgage Loan if necessary to
 prevent a material adverse effect on Purchaser’s interest with respect thereto or a delay in the
 Litigation Proceeding, it being understood that Purchaser shall indemnify and hold harmless the
 Seller from all costs and fees arising after the Closing Date and relating to any such Litigation
 Proceeding, other than any Seller Litigation Proceeding) and shall further indemnify and hold
 harmless the Seller for any loss, damages, penalties, fines, forfeitures, legal fees and related
 costs, judgments, and other costs and expenses resulting from any claim, investigation, inquiry,
 demand, defense or assertion relating to, based upon or otherwise pertaining to the proceeding
 continuing in the name of the Seller after the Closing Date. If Purchaser fails to use
 commercially reasonable efforts to comply with the above requirements, the Seller may, upon
 prior written notice to Purchaser, complete any of the actions specified in clauses (i), (ii) and
 (iii) above on Purchaser’s behalf. In such event, Purchaser hereby appoints the Seller its
 attorney-in-fact to complete any of the actions specified in clauses (i), (ii) and (iii) above.
 Purchaser acknowledges that its failure to comply with the provisions of this paragraph may
 affect Purchaser’s rights in any such proceeding including, without limitation, dismissal with
 prejudice or the running of any statute of limitations if any such proceeding is dismissed.

                 (b) On and after the Closing Date, Purchaser shall have the sole responsibility
 for the direction and strategy of the related Litigation Proceedings (other than Seller Litigation
 Proceedings), at Purchaser’s expense.

                (c) Reimbursement for the Seller’s expenses shall be made in accordance with
 the following procedure:

                         (i) Purchaser shall reimburse and indemnify the Seller for any expenses,
                  including reasonable legal fees, incurred by the Seller in connection with
                  Litigation Proceedings (other than Seller Litigation Proceedings) from and after
                  the Closing Date for services rendered after the Closing Date, including without
                  limitation, any such expenses incurred by the Seller in connection with
                  Purchaser’s failure to comply with the requirements of subparagraph (c)(i)-(iii)
                  above. Purchaser shall reimburse such expenses no later than five (5) days after
                  receipt of a request from the Seller for reimbursement;


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                         (ii) Within ninety (90) days after the Servicing Transfer Date, the Seller
                  shall deliver an electronic report to Purchaser of any expenses billed to the Seller
                  incurred in connection with Litigation Proceedings (other than Seller Litigation
                  Proceedings) from and after the Closing Date for services rendered after the
                  Closing Date, whereupon Purchaser shall reimburse the Seller for amounts so
                  incurred; and

                         (iii) The Seller shall be responsible for any expenses, including legal fees,
                  incurred by the Seller in connection with (A) Litigation Proceedings prior to the
                  Cut-Off Date and (B) any Seller Litigation Proceedings.

        Section 6.8.        Mortgage Loans Subject to HAMP

               If a Mortgage Loan becomes subject to a modification agreement pursuant to
HAMP during the Interim Servicing Period, Seller may, at its sole option, elect to repurchase
such Mortgage Loan by paying the applicable Repurchase Price to Purchaser, and upon receipt
of such Repurchase Price Purchaser shall release its interest in such Mortgage Loan as set forth
in Section 3.3. If Seller does not elect to repurchase such Mortgage Loan, Seller and Purchaser
shall enter into an Assignment and Assumption Agreement in the form of Exhibit C to the
Amended and Restated Servicer Participation Agreement dated as of September 30, 2010
between Seller and Fannie Mae with respect to such Mortgage Loan.

      Section 6.9.          Subservicing Agreements Between the Interim Servicer and
Subservicers

                 The Interim Servicer may arrange for the subservicing of any or all of the
Mortgage Loans by a subservicer pursuant to a sub-servicing agreement; provided, that such sub-
servicing arrangement and the terms of the related sub-servicing agreement must provide for the
servicing of such Mortgage Loans in a manner consistent with the servicing arrangements
contemplated hereunder; provided, further, that any fees or expenses of such subservicer shall be
payable solely by the Interim Servicer. Each subservicer shall be authorized to transact business
in the state or states where the related Mortgaged Properties it is to service are situated, if and to
the extent required by law applicable to the subservicer to enable the subservicer to perform its
obligations hereunder and under the sub-servicing agreement. Notwithstanding the provisions of
any sub-servicing agreement, any of the provisions of this Agreement relating to agreements or
arrangements between the Interim Servicer or a subservicer or reference to actions taken through
the Interim Servicer or otherwise, the Interim Servicer shall remain obligated and liable to the
Purchaser for the servicing and administration of the Mortgage Loans in accordance with the
provisions of this Agreement without diminution of such obligation or liability by virtue of such
sub-servicing agreements or arrangements or by virtue of indemnification from the subservicer
and to the same extent and under the same terms and conditions as if the Interim Servicer alone
were servicing and administering the Mortgage Loans. Every sub-servicing agreement entered
into by the Interim Servicer shall contain a provision that such sub-servicing agreement shall
terminate with respect to any Mortgage Loans that are sold and transferred to a successor
servicer. All actions of each subservicer performed pursuant to the related sub-servicing



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agreement shall be performed as an agent of the Interim Servicer with the same force and effect
as if performed directly by the Interim Servicer.

               For purposes of this Agreement, the Interim Servicer shall be deemed to have
received any collections, recoveries or payments with respect to the Mortgage Loans that are
received by a subservicer regardless of whether such payments are remitted by the subservicer to
the Interim Servicer.

                                              ARTICLE 7.

                                 MISCELLANEOUS PROVISIONS

        Section 7.1.      Amendment

       This Agreement may be amended from time to time by Seller, Interim Servicer and
Purchaser solely by written agreement signed by Seller, Interim Servicer and Purchaser.

        Section 7.2.      Governing Law

        This Agreement shall be governed by and construed in accordance with the laws of the
State of New York and the obligations, rights and remedies of the parties hereunder shall be
determined in accordance with such laws without giving effect to conflict of laws principles
thereof.

        Section 7.3.      General Interpretive Principles

       For purposes of this Agreement, except as otherwise expressly provided or unless the context
otherwise requires:

               (a) the terms defined in this Agreement have the meanings assigned to them in
 this Agreement and include the plural as well as the singular, and the use of any gender herein
 shall be deemed to include the other gender;

               (b) accounting terms not otherwise defined herein have the meanings assigned to
 them in accordance with generally accepted accounting principles;

               (c) references herein to “Articles,” “Sections,” “Subsections,” “Paragraphs,” and
 other subdivisions without reference to a document are to designated Articles, Sections,
 Subsections, Paragraphs, and other subdivisions of this Agreement;

                (d) a reference to a subsection without further reference to a Section is a
 reference to such subsection as contained in the same Section in which the reference appears,
 and this Rule shall also apply to Paragraphs and other subdivisions;

                 (e) the words “herein,” “hereof,” “hereunder,” and other words of similar import
 refer to this Agreement as a whole and not to any particular provision; and


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                  (f) the term “include” or “including” shall mean without limitation by reason of
 enumeration.

        Section 7.4.        Reproduction of Documents

        This Agreement and all schedules, exhibits and documents relating hereto may be
reproduced by any photographic, photostatic, microfilm, microcard, miniature photographic, or other
similar process. The parties agree that any such reproduction shall be admissible in evidence as the
original itself in any judicial or administrative proceeding, whether or not the original is in existence
and whether or not such reproduction was made by a party in the regular course of business, and that
any enlargement, facsimile, or further reproduction of such reproduction shall likewise be admissible
in evidence.

        Section 7.5.        Notices

        All demands, notices, consents, waivers and other communications hereunder shall be in
writing and shall be deemed to have been duly given upon receipt if personally delivered, sent by
facsimile, mailed by registered mail, postage prepaid or delivered by a nationally recognized
overnight courier, to

        (i) in the case of the Seller:

        GMAC Mortgage, LLC
        8400 Normandale Lake Blvd., Suite 350
        Minneapolis, Minnesota 55437
        Attention: General Counsel

        and

        GMAC Mortgage, LLC
        1100 Virginia Drive
        Fort Washington, Pennsylvania 19034
        Attention: Capital Markets

        (ii) in the case of Interim Servicer:

        GMAC Mortgage, LLC
        3451 Hammond Avenue
        Waterloo, Iowa 50702

or such other address as may hereafter be furnished to Purchaser in writing by Seller or Interim
Servicer, and




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        (iii) in the case of Purchaser:

        _____________________
        _____________________
        _____________________
        Attention: _____________________


or such other address as may hereafter be furnished to Seller and Interim Servicer in writing by
Purchaser.

      Notwithstanding the foregoing, any demand, notice, consent, waiver or communication
may be given by any other means if the parties hereto agree to such alternative means in writing.

        Section 7.6.        Severability of Provisions

        If any one or more of the covenants, agreements, provisions, or terms of this Agreement
shall be held invalid for any reason whatsoever, then such covenants, agreements, provisions, or
terms shall be deemed severable from the remaining covenants, agreements, provisions, or terms of
this Agreement and shall in no way affect the validity or enforceability of the other covenants,
agreements, provisions, or terms of this Agreement or the rights of the parties hereunder. If the
invalidity of any part, provision, representation or warranty of this Agreement shall deprive any
party of the economic benefit intended to be conferred by this Agreement, the parties shall negotiate
in good faith to develop a structure the economic effect of which is as nearly as possible the same as
the economic effect of this Agreement without regard to such invalidity.

        Section 7.7.        Counterparts; Successors and Assigns

        This Agreement may be executed in one or more counterparts, and by the different parties
hereto on separate counterparts, each of which, when so executed, shall be deemed to be an original;
such counterparts, together, shall constitute one and the same agreement. This Agreement shall
inure to the benefit of and be binding upon Seller, Interim Servicer and Purchaser. The Purchaser
shall not (i) transfer any Mortgage Loan during the Interim Servicing Period or (ii) assign its
rights, duties or any of its obligations under this Agreement. None of the Seller nor the Interim
Servicer will be obligated to execute any agreement or provide any consent, disclosures, reports
or any other information in connection with any assignment, transfer or reconstitution of the
Mortgage Loans by the Purchaser (or any successor-in-interest to the Purchaser) or otherwise.
This Agreement and all rights, obligations and responsibilities under the Agreement may not be
assigned by the Seller without the prior written consent of the Purchaser except for an
assignment to any entity for which the Seller controls more than 50% of the voting rights.

        Section 7.8.        Effect of Headings

       The headings in this Agreement are for purposes of reference only and shall not limit or
otherwise affect the meaning hereof.



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        Section 7.9.      Other Agreements Superseded; Entire Agreement

       This Agreement supersedes all prior agreements and understandings relating to the subject
matter hereof. This Agreement delivered or entered into pursuant hereto constitutes the entire
agreement of the parties with respect to the subject matter hereof.

        Section 7.10.     Survival

        Except as provided in Section 3.3, the representations, warranties, indemnities, covenants
and agreements of the parties provided in this Agreement and the parties’ obligations hereunder
shall survive the execution and delivery and the termination or expiration of this Agreement.

        Section 7.11.     Intention of the Parties

        It is the express intention of the Seller and the Purchaser that the transactions
contemplated by this Agreement be, and be construed as, a sale of the Mortgage Loans by the
Seller and not a pledge of the Mortgage Loans by the Seller to the Purchaser to secure a debt or
other obligation of the Seller. Consequently, the sale of each Mortgage Loan shall be reflected
as a sale on the Seller’s and the Purchaser’s business records, tax returns and financial
statements.

        Section 7.12.     Costs

        Each party will pay all of its own costs, fees, and expenses incurred (including the fees of
its attorneys) in connection with the negotiations for, documenting of and closing of the
transactions contemplated by this Agreement.

        Section 7.13.     Limitation on Liability of Interim Servicer

         Interim Servicer and the directors, officers, employees or agents of Interim Servicer shall
not be under any liability to Purchaser (i) for any action taken, or for refraining from the taking
of any action, in good faith pursuant to this Agreement, (ii) for errors in judgment made in good
faith, or (iii) for any action or inaction in accordance with the written direction or consent of
Purchaser, provided, however, this provision shall not protect Interim Servicer against any
failure to perform its obligations in accordance with any standard of care set forth in this
Agreement (unless in accordance with the written direction or consent of Purchaser) or any
liability that would otherwise be imposed by reason of willful misconduct, bad faith or
negligence in the performance of its duties. Interim Servicer and any of its directors, officers,
employees or agents, may rely in good faith on any document of any kind that appears, on its
face, to be properly executed and submitted by any person or entity respecting any matters
arising hereunder.




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        Section 7.14.     Third Party Beneficiary

        Interim Servicer shall be a third party beneficiary of all of the covenants and
representations and warranties made to Seller by Purchaser, and Interim Servicer shall be entitled
to enforce the provisions hereof.

        Section 7.15.     Waiver of Jury Trial

        Each party hereby knowingly, voluntarily and intentionally, waives (to the extent
permitted by applicable law) any right it may have to a trial by jury of any dispute arising under
or relating to this Agreement and agrees that any such dispute shall be tried before a judge sitting
without a jury.

        Section 7.16.     Exhibits and Schedules

       The exhibits and schedules to this Agreement are hereby incorporated and made a part
hereof and are an integral part of this Agreement.

        Section 7.17.     No Special Damages.

       Except to the extent necessary to reimburse an indemnified party for judgments actually
awarded to third parties, in no event shall any party hereto be liable for any indirect damages,
including consequential, incidental, exemplary or special damages, or any punitive damages.



                                     [Signature page follows]




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TO WITNESS THIS, the Seller, Interim Servicer and Purchaser have caused their names to be
signed to this Mortgage Loan Purchase and Interim Servicing Agreement by their duly
authorized respective officers as of the day and year first above written.

                                         GMAC MORTGAGE, LLC, as Seller and Interim
                                         Servicer

                                         By:   _________________________________

                                         Name:_________________________________

                                         Title: _________________________________



                                         ____________________, as Purchaser

                                         By:   _________________________________

                                         Name:_________________________________

                                         Title: _________________________________




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                                           EXHIBIT A

                                CONTENTS OF CREDIT FILE


        With respect to each Mortgage Loan, the Credit File may include each of the following
items if in Seller’s possession:

                 1.    Copy of survey of the Mortgaged Property.

                 2.    Copy of each instrument necessary to complete identification of any
                       exception set forth in the exception schedule in the title policy (i.e., map
                       or plat, restrictions, easements, sewer agreements, home association
                       declarations, etc.).

                 3.    Evidence of a hazard insurance policy and, if required by law, a flood
                       insurance policy, with extended coverage of the hazard insurance policy.
                       (Note: Evidence shall be maintained by Seller in electronic form. Seller
                       shall produce a paper copy of such evidence upon request by Purchaser.)

                 4.    Mortgage Loan closing statement (Form HUD-1) and any other
                       truth-in-lending or real estate settlement procedure forms required by law.

                 5.    Residential loan application.

                 6.    Verification of employment and income (if required pursuant to the
                       originator’s underwriting criteria at the time of origination).

                 7.    Verification of acceptable evidence of source and amount of down
                       payment (to the extent required under the originator’s underwriting
                       guidelines at the time of origination).

                 8.    Credit report on the Mortgagor.

                 9.    Residential appraisal report.

                 10.   Photograph of the property.

                 11.   Executed disclosure statement.

                 12.   Insurance premium receipts, tax receipts, ledger sheets, payment records,
                       insurance claim files and correspondence, correspondence, current and
                       historical computerized data files, underwriting standards used for
                       origination, and all other papers and records developed or originated by
                       Seller or others required to document the Mortgage Loan or to service the
                       Mortgage Loan, as available.




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                 13.   A copy or an imaged copy on CD-ROM of the policy of title insurance,
                       including any endorsements thereto or marked commitment (or if such
                       policy has not yet been issued by the insurer, the preliminary title report).

                 14.   A copy or an imaged copy on CD-ROM of the executed Power of
                       Attorney, if any.




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                                EXHIBIT B

                      FORM OF SALE APPROVAL ORDER




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                                EXHIBIT C

                          REPORT OF ADVANCES




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                               SCHEDULE I

                       MORTGAGE LOAN SCHEDULE

                              [SEE ATTACHED]




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                               SCHEDULE II

                      PURCHASE PRICE PERCENTAGES

                              [SEE ATTACHED]




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                               SCHEDULE III

                      COLLATERAL EXCEPTIONS REPORT

                              [SEE ATTACHED]




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